Plaintiff moves the Industrial Commission for a continuance in this matter due to the reason of inclement weather.  In addition, plaintiff has notified the Commission that he has not yet received a transcript or a Form 44.  A transcript and Form 44 are being sent to the plaintiff from the Commission by way of certified mail with a return receipt requested.
Upon plaintiff's motion and for good cause shown, IT IS ORDERED that counsel for plaintiff's motion for a CONTINUANCE is hereby GRANTED.  Furthermore, IT IS ORDERED that this case be set on the 27 February 1995 Full Commission calendar.
                                  S/ _______________________ DIANNE C. SELLERS COMMISSIONER